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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

 JOHN DOE                                                                             PLAINTIFF

 v.                                              CIVIL ACTION NO.: 3:24-cv-547-HTW-LGI

 JANE ROE                                                                           DEFENDANT


      DEFENDANT’S URGENT AND NECESSITOUS MOTION FOR EMERGENCY
              SEALING OR REDACTIONS AND FOR SANCTIONS

       Defendant Jane Roe, by and through counsel, pursuant to the Federal Rules of Civil

Procedure, Local Rule 7(b)(8), respectfully files this Urgent and Necessitous Motion for

Emergency Sealing of the Amended Complaint (Dkt. No. 17) filed yesterday, or in the alternative,

a Court Order that Defendant’s name be redacted throughout the Amended Complaint. Defendant

also seeks sanctions against Plaintiff, and his counsel, for their intentional and unlawful disclosure

of a rape victim’s identity, without her consent. In support thereof, Defendant would show as

follows:

       1.      On September 13, 2024, Plaintiff filed a preemptive abusive declaratory judgment

action against Defendant. Dkt. No. 1. Mr. Doe also filed a motion pursuant to Fed. R. Civ. P. 5.2

(“Rule 5.2”), L.U. Civ. R. 5.2, and L.U. Civ. R. 79, seeking leave to file his complaint under a

pseudonym, proceed in this action pseudonymously, and to file under seal or with redaction

materials that would reveal the parties’ identities (the “Pseudonym Motion”). Dkt. Nos. 4-5.

       2.      On October 1, 2024, Ms. Roe submitted her opposition to the Pseudonym Motion.

Dkt. No. 11 (“Opposition”).

       3.      Last evening, October 8, 2024, Mr. Doe filed his reply. Dkt. No. 16. Moments

later, he filed an Amended Complaint in which he removed pseudonymous names for the parties

and used his name and Defendant’s name. Dkt. No. 17. Mr. Doe claims that he did this in response
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to Ms. Roe’s action commenced in California on October 3, 2024, Roe v. Brooks, No. 24 Civ.

25693 (Cal. Sup. Ct. October 3, 2024).

       4.       Plaintiff commenced this action improperly, for the purpose of thwarting Ms. Roe’s

efforts to assert causes of action against him in California under California law for sexual violence,

including inter alia sexual assault and rape. No basis exists under the Declaratory Judgment Act

for Mr. Doe to assert claims, yet he filed his frivolous complaint to threaten Ms. Roe in connection

with her California filing, and to otherwise cause her additional emotional distress and harm,

beyond what she had already suffered.

       5.       Defendant provided Plaintiff notice in her Opposition that she would commence

the California action before October 4, 2024. In response, Plaintiff did nothing. Further, Plaintiff’s

counsel failed to take any action in response to the notice provided on October 1, 2024.

       6.       Thereafter, without giving Defendant or this Court notice, Plaintiff unlawfully filed

an Amended Complaint divulging Defendant’s identity to the public, and directly contradicting his

own Pseudonym Motion that was still pending.

       7.       Each hour and day that the Amended Complaint remains on the docket without

redacting Defendant’s identity or placing it under seal, is causing Defendant severe emotional

distress and harm.

       8.       Counsel for Defendant sent an email and left a message with counsel for Mr. Doe

regarding the relief requested and has not yet heard back.

       9.       The following documents are relied upon in support of this Motion:

            •   Attachment A – Letter from Defendant’s counsel to the Court
                regarding the urgent necessity of immediate action to prevent further
                disclosure of Defendant’s name.

            •   Attachment B –Redacted Amended Complaint.
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       WHEREFORE, PREMISES CONSIDERED, Defendant respectfully requests that the

Court enter an order:

1.     Immediately sealing Plaintiff’s Amended Complaint (Dkt. No. 17); or in the alternative,
       redacting Defendant’s name throughout the Amended Complaint (see Attachment B); and

2.     Imposing sanctions on Plaintiff and his counsel for unlawfully and intentionally disclosing
       the identity of a rape victim without her consent.



THIS, the 9th day of October, 2024.



                                                    Respectfully Submitted,

                                                    WATSON & NORRIS, PLLC

                                                    By: /s/Louis H. Watson, Jr.
                                                        _____________________________
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                                   HB ADVOCATES PLLC
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                                   By: _____________________________
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                                   Counsel for Defendant
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                                 CERTIFICATE OF SERVICE

       I, DOUGLAS H. WIGDOR, attorney for Defendant, do hereby certify that I have this day

filed the foregoing with the Clerk of the Court using the ECF system which sent notification of

such filing or mailed, via United States Mail, postage prepaid, to all counsel of record.

       THIS, the 9th day of October, 2024.

                                              /s/ Douglas H. Wigdor
                                              Douglas H. Wigdor
